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                                  UNITED STATES DISTRICT COURT

                                  EASTERN DISTRICT OF VIRGINIA

                                           (Alexandria Division)


  STEVEN KNURR,Individually and on Behalf                Civil Action No. l:16-cv-01031-TSE-MSN
  of All Others Similarly Situated,
                                                         CLASS ACTION
                                   Plaintiff,

              vs.


  ORBITAL ATK,INC., et al..

                                   Defendants.




              ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING
                                    FOR NOTICE


              WHEREAS,an action is pending before this Court entitled Steven Knurr vs. Orbital ATK,

  Inc., et al. Civil Action No. l:16-cv-01031-TSE-MSN (the "Action");

              WHEREAS,Plaintiffs having made application,pursuant to Federal Rule ofCivil Procedure

  23(e), for an order preliminarily approving the Settlement of this Action, in accordance with a

  Settlement Agreement dated as of January 30, 2019 (the "Stipulation"), which, together with the

  Exhibits annexed thereto,sets forth the terms and conditions for a proposed Settlement ofthe Action

  and for dismissal ofthe Action with prejudice upon the terms and conditions set forth therein; and

  the Court having read and considered the Stipulation and the Exhibits annexed thereto; and

              WHEREAS,unless otherwise defined, all terms used herein have the same meanings as set

  forth in the Stipulation.




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